8:08-cr-00377-LSC-FG3       Doc # 104     Filed: 11/03/09     Page 1 of 1 - Page ID # 362




                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                   )               CASE NO. 8:08CR377
                                            )
             Plaintiff,                     )
                                            )
             vs.                            )                      ORDER
                                            )
THOMAS E. BRYANT,                           )
                                            )
             Defendant.                     )

      This matter is before the Court on the Defendant’s appeal (Filing No. 83) from the

Magistrate Judge’s orders (Filing Nos. 77, 79).

      The Defendant entered a plea of guilty on November 2, 2009. Therefore,

      IT IS ORDERED that the Defendant’s appeal (Filing No. 83) from the Magistrate

Judge’s orders (Filing Nos. 77, 79) is denied as moot.

      DATED this 3rd day of November, 2009.

                                                  BY THE COURT:


                                                  s/Laurie Smith Camp
                                                  United States District Judge
